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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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REINA ASENCIO,

                                   Plaintiff,                                21 CIVIL 6608 (NSR)

                 -against-                                                       JUDGMENT
 IRIS SPA IN NORTH CASTLE CORP., IRIS SPA IN
 ARMONK CORP., and MINKWAN CHOE,


                                    Defendants.
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        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated February 27, 2025, Plaintiff's motion for summary

judgment on her claims for failure to (1) pay overtime wages, (2) pay minimum wages, (3)

provide a wage notice, and (4) provide proper wage statements are GRANTED. Judgment is

entered in favor of Plaintiff and against Defendants, which shall include: (1) damages for unpaid

overtime wages, statutory damages, and liquidated damages under the FLSA and the NYLL in

the amount of $143,151.80; and (2) prejudgment interest on $43,513.00 from November 26,

2017, to the date of judgment at a rate of 9 percent per year in the amount of $28,443.20.

Attorneys' fees and costs to be awarded upon Plaintiff's counsel's filing of the appropriate

documentation; accordingly, the case is closed.

Dated: New York, New York

          February 28, 2025

                                                                       TAMMI M. HELLWIG
                                                                     ________________________
                                                                           Clerk of Court
